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                                         United States District Court
                                         Southern District of Florida
                                       Case No. 21-60125-CIV-Scola/Goodman
   ----------------------------------------------------
   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD.,
                                Plaintiff,
   v.
   CIRCUITRONIX, LLC,
                                Defendant.
   ----------------------------------------------------




                     Benlida’s Reply to Circuitronix’s Opposition to the
                       Motion to Enforce the Settlement Agreement




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   December 27, 2022
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           Plaintiff Benlida, by the law firm of Mazzola Lindstrom LLP, hereby submits its reply on its

   motion to enforce the settlement agreement executed by the parties hereto, to deem the case terminated,

   and to award attorneys’ fees and costs in accordance with the settlement agreement. The facts set forth

   herein are stated under penalty of perjury, pursuant to 28 U.S.C. § 1746.

           1.      In the moving papers, I set forth (also under penalty of perjury) a timeline

   demonstrating that, in sum, at every turn defendant CTX has sought to renegotiate the deal; that is, on

   several occasions, Benlida had already accepted CTX’s terms, and said, in sum, “we have a deal,” only

   to have CTX come back with (in sum), “wait up – would you agree to some further conditions, like

   making it a ten-year contract instead of a five-year contract.” In opposition to this motion, CTX submits

   utterly unsworn assertions, which – being unsworn – should be disregarded, and this motion should be

   granted, as it is well established that unsworn assertions lack probative value. See Carr v. Tatangelo,

   338 F.3d 1259, 1273 n.26 (11th Cir. 2003); see also Gaither v Secretary, Dept. of Corr., 2015 US Dist

   LEXIS 89228, at *4, n 4 [MD Fla July 9, 2015, No. 8:12-CV-889-T-27TGW]) (“All of the facts and

   legal analysis on which the Defendant relies to support his motion, however, are contained in an

   unsworn memorandum attached to the Defendant’s post conviction motion. Because the memorandum

   is not adequately sworn to, the Court will not entertain the merits of the allegations raised in the

   memorandum.”)

           2.      While CTX has submitted a sworn declaration of attorney Chauncey Cole annexing

   emails and other documents, Mr. Cole merely attests to the authenticity of such documents, which no

   one would dispute. But the “facts” set forth in the unsworn CTX memorandum in opposition to this

   motion – purporting to explain why CTX’s counsel said that CTX just needed more time to review the

   financials, and why CTX served its notice of termination of the settlement agreement to buy it more

   time – are not derived from any sworn statements. There is no declaration from CTX, either from its



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   principal Rishi Kukreji or its “Corporate Controller” Celin Astudillo, attesting that there is a basis to

   believe that Benlida faces a short- or medium-term risk of financial instability or collapse (which was

   the sine qua non for terminating the settlement agreement). Nor is there a declaration from attorneys

   Cole or Rosenthal denying that they told Benlida attorney Jean-Claude Mazzola that CTX just wants

   more time to make a decision whether to proceed with the settlement.

           3.      In fact, all that is offered that might be considered evidentiary is a declaration of

   Benlida principal Huang Hanchao, which was submitted in opposition to CTX’s unrelated, 18-months-

   old motion to dismiss. In his declaration, Huang Hanchao stated in paragraph 2, “none of the invoices

   identified are ROK invoices. Rather, Benlida issued all of the invoices. All of the moneys owed by

   CTX are owed to Benlida, not ROK. In fact, ROK ceased manufacturing and selling goods to CTX by

   mid 2018.” (See DE 29-3). Citing to this single paragraph in Mr. Huang’s declaration as “evidence,”

   CTX states in its opposition to this motion to enforce the settlement: (Def. Mem at pp.1 & 4)

           CTX’s concerns were well founded. BLD has a long history of running short on cash, often
           relying on CTX to borrow additional cash to keep the BLD operation afloat. BLD, and its
           related companies, are no strangers to insolvency and financial collapse. According to
           testimony from BLD’s principal, Huang Hanchao, submitted under oath in this case, BLD’s
           affiliate corporation, ROK Printed Circuit Co., Ltd. (“ROK”), went out of business and ceased
           operations in 2018. DE [29-3] at 2. In large part, BLD’s desperate financial condition, and need
           for more cash from CTX, is what caused this meritless lawsuit in the first place.
                                                       ***
           CTX and BLD have had a long history of dealing before the present lawsuit. They entered their
           first manufacturing agreement back in 2005, whereby CTX agreed to utilize BLD’s factory to
           manufacture printed circuit boards for CTX’s customers. During the course of the parties’
           relationship, CTX became well aware of BLD’s history of cash-flow problems. Over the years,
           BLD’s principals on multiple occasions had turned to CTX for special cash infusions, and CTX
           agreed to send BLD money to ensure that the factory would remain up and running to maintain
           quality standards and capacity sufficient to meet BLD’s obligations to CTX’s customers.
           BLD’s former affiliate company, ROK, ran out of cash and ceased operations in 2018. DE [29-
           3] at 2 (testimony of Huang Hanchao). [¶] It is against that backdrop that the current efforts to
           settle the accounting dispute that arose between the parties—which is the subject of this
           lawsuit—must be understood.
           4.      CTX uses this one brick – the phony (and indeed, easily proven false) proposition that

   Mr. Huang admitted in his his declaration that Benlida affiliate ROK ran out of cash – to build a


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   cathedral of claptrap. There is simply no evidence that ROK, or any other Benlida-affiliated entity, has

   ever shut down due to insolvency. (See declaration of Huang “Tracy” Sulan, exhibit “1,” to be filed

   under seal). CTX was also aware of Mr. Huang’s testimony when it entered into the settlement

   agreement, and its reliance upon that stale testimony itself proves its bad faith in terminating the

   agreement. Moreover, CTX’s idea that “BLD’s desperate financial condition, and need for more cash

   from CTX, is what caused this meritless lawsuit in the first place” is belied by what CTX states in its

   next breath, wherein it acknowledges that this case arises, in essence, from an “accounting dispute …

   between the parties.” The accounting dispute is, as Benlida alleged, that CTX owes Benlida about

   $13 million due to unpaid invoices. CTX agreed to settle that dispute pursuant to a confidential

   settlement agreement, which it now seeks to renegotiate, as it has done again and again and again.1

           5.      Even if the court were to disregard the fatal defects in CTX’s papers – viz., its reliance

   upon unsworn “facts” and a demonstrably false premise that Mr. Huang admitted that Benlida’s

   affiliate ROK was shut down due to insolvency – the unsworn opposition papers prove Benlida’s case:

   CTX has terminated the settlement agreement in bad faith.

           6.      Under the settlement agreement, CTX could terminate the agreement if the financial

   disclosures demonstrated a short- to medium-term risk of insolvency or financial collapse. Rather than

   demonstrate any basis to believe that there is such a risk, CTX argues that:

           (a) It was “concerned” that Benlida might pull the rug out from under CTX after the
               settlement, by shutting down and transferring all of its operations over to a “newco.”
           (b) Benlida should have provided the financial information prior to the execution of the
               settlement agreement, rather than the agreed-upon five days, because, as it turned out, five
               days was not enough for CTX.       It needed another thirty days to conduct its due



   1
     Throughout the opposition memorandum, CTX refers to the settlement payments as “investments”
   in Benlida’s future business, and argues that Benlida in the past had repeatedly requested funding
   from CTX in order to pay its suppliers. We trust that the court will understand that paying what one
   owes is not an “investment.” Benlida and CTX are not partners; rather, Benlida is a supplier of
   goods, and CTX is purchaser.
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               diligence, yet Benlida would only agree to an additional three beyond the originally
               bargained-for five days.
           (c) Benlida’s counsel ultimately agreed to CTX’s “sole discretion” language in the
               termination clause, backing off Benlida’s request that the clause use the term “reasonable”
               discretion.
           (d) The enforceability of the settlement agreement must be arbitrated.

           7.      Notwithstanding the lack of any sworn-to facts to support these arguments, we will

   address each of these arguments in turn.

           A. CTX’s concern that Benlida might shut down and transfer its business entirely to a
              new factory is both unfounded and irrelevant to the issue whether Benlida poses a
              risk of short- to medium-term risk of insolvency or collapse.
           8.     Commerce would come to a close if good faith and fair dealing were not elemental to

   every commercial agreement, and there is manifestly an implicit obligation on the part of Benlida not to

   shut down its business. This has nothing to do with the risk of insolvency. As E.A. Farnsworth wrote in

   his seminal article, “Good Faith Performance and Commercial Reasonableness Under The Uniform

   Commercial Code,” Chicago Law Review, Vol. 30:666 at 670 & 671 n.31 (1963): (emphasis added)

          Concern with “good faith” in relations among commercial men found its way into the English
          law merchant-both in connection with purchase and performance. In Holdsworth’s view it was
          the canon law that “put into legal form the religious and moral ideas which, at this period,
          colored the economic thought of all the nations of Europe,” and thus “contributed to enforce
          those high standards of good faith and fair dealing which are the very life of the trade.” But by
          the eighteenth century, when the law merchant had been absorbed into the common law, the
          attention of the King’s courts began to be concentrated upon the development of a body of
          doctrine to encourage the free circulation of goods and commercial paper.
                                                     ***
          /n.31/ In an illustrative New York case, a producer of cattle food agreed to install, at
          considerable expense, a machine for drying and salvaging wet grains that were the by-product
          of a brewery. In exchange it received the brewery’s promise to sell it the used grain that it
          produced and salvaged for a period of five years or until half a million barrels had been brewed,
          after which the brewery was to become the owner of the machine. The brewery sold out its
          business before either of these events occurred. The New York Court of Appeals held it liable
          to the producer of cattle food for damages. A promise to remain in business for five years or
          until half a million barrels had been brewed was implied. “Every contract,” said the court,
          “implies good faith and fair dealing between the parties to it.” Wigand v. BachmannBechtel
          Brewing Co., 222 N.Y. 272, 277, 118 N.E. 618, 619 (1918). See also Universal Sales Corp. v.
          California Press Mfg. Co., 20 Cal. 2d 751, 128 P.2d 665 (1942).



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           9.       CTX has presented no factual basis for its concern that Benlida might shut down its

   business after CTX pays the first installment of the moneys that it has agreed to pay to settle this

   lawsuit, and such concern has no bearing whatsoever upon the financial wherewithal of Benlida.

   Moreover, the Benlida group of companies, headed by Mr. Huang, are manifestly doing well enough

   that they are building an entirely new production line, which belies the idea that it is at risk of short- to

   medium-term financial collapse. Indeed, as noted in the moving papers, one of CTX’s requests – made

   on November 3, 2022 after Benlida had already executed the settlement agreement and RMA on

   November 1st – was that the RMA be for a ten-year term, rather than a five-year term. Benlida agreed

   to the request, and re-executed both sets of documents – viz., the settlement agreement and the RMA –

   and turned over the execution pages to CTX’s counsel.

           10.      Benlida submits that CTX’s concern that Benlida will shut down and shift its business

   to another entity is entirely divorced from the bedrock principle (derived from the law merchant) of

   good faith and fair dealing, and that CTX’s overall “concerns” are predicated upon a subjective

   suspicion that Benlida is trying to cheat CTX at every turn. In sum, CTX is acting in bad faith because

   it has presupposed that Benlida is acting in bad faith. Moreover, CTX’s suspicions are belied by the

   fact that, notwithstanding that CTX has purported to terminate the settlement, and notwithstanding its

   concerns that Benlida will shut down operations entirely, CTX has continued to place orders. Since the

   agreements were executed on November 7, CTX has paid $352,635.25 for circuit boards ordered

   from Benlida, and prior to shipping the circuit boards currently on order, the $337,309.12 total

   (which is now mostly pre-paid) will be totally pre-paid. (See exhibit “1, ” Decl. of Tracy Huang).

           B. CTX agreed to the 5-day review period, and shouldn’t be heard to complain that
              Benlida should have given it the financial information prior to execution, or given an
              additional 30 days for it to complete its review after it served the termination notice.
           11.      Throughout its unsworn memorandum, CTX argues “a deal is a deal,” and yet argues

   that Benlida could have allayed CTX’s concerns earlier by giving it the financial statements before

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   execution of the settlement agreement, or given CTX an additional thirty days to conduct its due

   diligence after CTX had served its purported notice of termination. In response to CTX’s argument, we

   need only note that, though CTX believes it should have requested more time to review the financials,

   “[i]t is well settled that courts may not rewrite a contract or interfere with the freedom of contract or

   substitute their judgment for that of the parties thereto in order to relieve one of the parties from the

   apparent hardship of an improvident bargain.” Beach Resort Hotel Corp. v. Wieder, 79 So.2d 659, 663

   (Fla.1955). That CTX is arguing that it needed more than five days to conduct its due diligence is quite

   telling indeed, as it demonstrates that its purported decision to terminate was not thought through, but

   was instead – as CTX’s own attorneys admitted – an effort to buy time.

           12.      While CTX argues that there could be no reasonable motive for its desire to delay and

   to buy time, Benlida will not be able to probe the motives of the CTX witnesses until they take the

   stand. At this juncture, all that can be shown is CTX’s history of renegotiating and renegotiating the

   deal at every turn; whether that is due to, e.g., a cash-flow problem on CTX’s side remains to be seen.

           13.      Throughout the opposition memorandum, CTX’s counsel argues that the financials and

   the three-hour Zoom conference presented CTX with more questions than answers about Benlida’s

   finances. But if there were a basis to terminate the settlement agreement because of a good-faith belief

   that Benlida was at short- to medium-term risk of financial insolvency or collapse, there would be no

   need to continue asking questions. That they issued the termination notice, whilst desiring to continue

   asking questions and continue the negotiations, demonstrates that CTX lacked a good-faith basis to

   issue the termination notice in the first place.

           C. Benlida acceded to CTX’s requirement that it have “sole discretion” because it
               assumed, as one must, good faith on the part of CTX, and the law imposed a
               requirement of good faith upon CTX in any event.
           14.     It is also quite telling that CTX hangs its hat on the notion that it had the right to

   terminate the agreement for any reason in its sole discretion, and that Benlida backed off the

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   requirement that its exercise of such discretion be “reasonable.” However, when CTX indicated that it

   would not agree to the modification to make its exercise dependent upon reasonableness, we did our

   research and determined that under Florida law, when a party to a contract has “sole discretion” to

   perform or not perform, such must be in accordance with good faith, as Sepe holds. See Sepe v City of

   Safety Harbor, 761 So 2d 1182, 1184 (Fla Dist Ct App 2000). At the evidentiary hearing, it will be

   demonstrated that CTX failed to exercise good faith, and thus the settlement must be enforced.

           15.     Moreover, these negotiations were conducted under the guise of court-mandated

   mediation, which must be conducted in good faith. Indeed, the court order of May 26, 2021 that

   directed the parties to mediate (DE 22) provided: “¶5. Pursuant to Local Rule 16.2(e), the appearance

   of counsel and each party or representatives of each party with full authority to enter into a full and

   complete compromise and settlement is mandatory…. ¶8. The Court may impose sanctions against

   parties and/or counsel who do not comply with the attendance or settlement authority requirements in

   this Order, or who otherwise violate the terms of this Order….” The court issued an order on January

   19, 2022 scheduling mediation for June 1, 2022. (DE 49). The mediation took place, as scheduled, and

   on June 2, 2022, the report of mediator Joseph P. Farina was duly docketed (DE 80), stating: “The

   mediator reports that the parties entered into a settlement agreement, and their attorneys are preparing

   the final settlement documents. /s/ Joseph P. Farina, JAMS Mediator/Neutral.”

           16.     One would expect that CTX would not have the temerity to argue to this court that it

   could treat the mediation process as an asymmetric exercise, such that – while Benlida must act

   reasonably – CTX could ultimately decide to walk away from the settlement even if its decision were

   “an honest mistake, bad judgment or negligence.” But that is exactly what CTX does argue, that its

   decision to terminate could result from an utter misunderstanding of the financials, or from rank

   negligence, and that, if so, then its decision must be respected by the court. (See Def. Mem. pp. 12-13).



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   Benlida submits that not only does CTX owe it a duty of good faith, such that its decision to terminate

   in its “sole discretion” must be reasonable, but it also owes this duty to the court.

             D. The arbitration clause is contained in the RMA, not the settlement agreement.
                 Benlida has moved to enforce the settlement agreement, not the RMA and CTX
                 purported to terminate the settlement agreement, not the RMA.
             17.    CTX’s argument that Benlida should follow the dispute resolution provisions of the

   RMA is belied by both the termination notice itself and by CTX’s own behavior. CTX’s “Notice of

   Termination of Settlement Agreement” (emphasis added)2 – as the notice of termination was self-styled

   by CTX – says plainly that it was being provided “in accordance with Section 3a of the Settlement

   Agreement and General Release,” which section of the settlement agreement is then block-quoted.

             18.    Indeed, the entirety of the five-sentence notice (exclusive of the recitation of Section 3a

   of the Settlement Agreement) states that: (1) counsel for CTX writes on its behalf; (2) to provide notice

   of termination “in accordance with Section 3a of the Settlement Agreement”; (3) which section 3a

   required Benlida to demonstrate “a lack of short to medium term risk of insolvency or financial

   collapse” as an essential and necessary term of “this Agreement” (i.e., the settlement agreement); (4)

   that “CTX has carefully reviewed the BLD financial statements and determined that BLD faces an

   unacceptable risk of instability, and has failed to demonstrate that BLD does not face a short to medium

   term risk of insolvency or financial collapse;” and (5) that CTX thus “hereby elects to immediately void

   and terminate the Agreement.” But nowhere does the CTX termination notice mention the RMA,

   Benlida’s performance under the RMA, Sections 10.2 or 10.4 of the RMA or any kind of ADR process

   that CTX now faults Benlida for not engaging in. Separate from Section 3a of the settlement

   agreement, the RMA contains a Section 10.2 concerning the termination thereof. Section 10.4 of the

   RMA then states that, “(e)ither party may initiate negotiation proceedings by written notice to the other




   2
       The November 17 notice of termination is submitted as exhibit I to CTX’s opposition papers.
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   party setting forth the particulars of the dispute.”3 If CTX believed that Section 10.4 of the RMA

   (regarding ADR) was applicable to its termination, then CTX would not have sent a “Termination

   Notice of Settlement Agreement…in accordance with Section 3a of the Settlement Agreement,” but

   rather a letter notifying Benlida of the particulars regarding Benlida’s alleged failure to demonstrate a

   lack of short- to medium-term risk of insolvency of financial collapse – the very absence of particulars

   being one of the reasons that Benlida was forced to bring CTX’s pretextual termination to the court!

             19.     CTX’s “Notice of Termination of Settlement Agreement” also does not “arise out of” or

   “concern” performance under the RMA, as performance thereunder had not begun when CTX

   pretextually terminated the settlement. Indeed, CTX argues that the present dispute “arises out of the

   RMA in the sense that CTX’s assessment of the risk that BLD will not remain financially solvent in the

   short to medium term, but with an eye toward BLD’s ability to operate as a reliable partner able to

   deliver on its end of the bargain, the detailed terms of which are set forth in the RMA, which were the

   subject of protracted negotiation.” (Def. Mem. at p.19). The court should take CTX at its word – that

   performance under the RMA were, at most, a twinkle in its eye when it issued the termination notice,

   but performance under the RMA had not yet begun, and the ADR procedures thus were not triggered.

             20.     The real purpose of CTX raising such a specious argument is one and the same with

   CTX’s true objective throughout the settlement process – delay, delay, delay: (see Def. Mem. at p.19)

             Thus, the Court could assume without deciding for purposes of resolving this motion that if
             BLD is correct the contract remains in effect, BLD must resort to the ADR procedure it agreed
             to before turning to the Court. That approach may bear fruit, given that both parties, even after
             CTX voided the contract, expressed a willingness to continue talking through CTX’s remaining
             concerns and questions about BLD’s finances. (Emphasis added).

             21.     While CTX states that further and future discussions may bear fruit, if it had truly

   desired to walk away from the settlement agreement, it would have no interest in continuing the



   3
       The RMA is submitted as exhibit B, under seal, with CTX’s opposition papers.
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   negotiations, and trying the patience of the court and the Benlida over and over, not just taking repeated

   bites of the apple, but continuing to nibble down the core.

           22.      CTX claims that Benlida is “splitting hairs” in stating that the term “this Agreement” in

   Section 10.4b of the RMA refers to the RMA, and not to both the settlement agreement and RMA

   simultaneously. However, the settlement agreement and the RMA each begin by self-defining as “this

   Agreement” without any reference to the other. (See exhibits A and B to CTX’s opposition papers).

   And while Benlida agrees with CTX that the RMA is an exhibit to the settlement agreement and is

   expressly incorporated therein, there can be no dispute that where both the settlement agreement and

   the RMA contain inconsistent sections (sections 3a and 10.2, 10.4 respectively) concerning the grounds

   and mechanisms for terminating each respectively, and CTX sends a notice terminating the “Settlement

   Agreement” pursuant to Section 3a thereof, Benlida cannot be expected to adhere to the alternate

   dispute resolution mechanisms laid out in Section 10.4 of the RMA and concerning a termination under

   Section 10.2 of the RMA.

                                                Conclusion
           Accordingly, plaintiff Jiangmen Benlida Printed Circuit Co., Ltd. respectfully requests that the

   court issue an order: (1) enforceing the settlement agreement with its incorporated RMA; (2) declaring

   CTX’s termination notice of November 17 a nullity; (3) awarding Belinda attorney’s fees and costs,

   pursuant the settlement agreement; (4) terminating and closing the action; and (5) awarding such

   further relief as is just and proper.

   Dated: December 27, 2022                                 Respectfully submitted,
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                                         Certificate of Service

           I HEREBY CERTIFY that a true copy of the foregoing has been served via electronic mail on a
   registered CM/ECF user on December 27, 2022.

                                                By: /s/ Jean-Claude Mazzola___
                                                         Jean-Claude Mazzola




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                                   Exhibit 1
                          Declaration of Tracy Huang
                    [confidential and to be filed under seal]




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